          Case 1:18-cv-02844-RDB Document 626-3 Filed 05/30/22 Page 1 of 1



                         IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF MARYLAND

 SECURITIES AND EXCHANGE                       )
 COMMISSION,                                   )
                                               )
           Plaintiff,                          )
                                               )       Case No.: 1:18-cv-02844-RDB
 v.                                            )
                                               )
 KEVIN B. MERRILL, et al.,                     )
                                               )
           Defendants.                         )


          ORDER GRANTING RECEIVER’S MOTION FOR APPROVAL
   OF SECOND INTERIM FEE APPLICATION OF BANKRUPTCY MANAGEMENT
                    SOLUTIONS INC. D/B/A STRETTO

         Before the Court is the Receiver’s Motion for Approval of Second Interim Fee Application

of Bankruptcy Management Solutions Inc. d/b/a Stretto (the “Motion”). Having considered the

Motion, and any responses or objections thereto, the evidence presented, and arguments of counsel,

if any, the Court finds that the time spent, services performed, hourly rates charged, and expenses

incurred by Bankruptcy Management Solutions Inc. d/b/a Stretto on behalf of the Receivership

Estate were reasonable and necessary for the Receiver to perform his Court-ordered duties. The

Court, having reviewed the Motion, is of the opinion that the Motion be and is hereby GRANTED.

         It is therefore ORDERED that payment in the amount of $39,413.36 for the fees and

expenses incurred between July 1, 2021 and December 31, 2021 is approved.

Signed this ____ day of ________________, 2022.




                                             RICHARD D. BENNETT
                                             UNITED STATES DISTRICT COURT JUDGE




HB: 4865-3863-0430.4
